Case O:lQ-cV-GOSSS-W.]Z Document 1-2 Entered on FLSD Docket 04/03/2019 Page 1 of 1

AO 440 (Rev. 06/12) Surnmons in a Civil Action

UNITED STATES DISTRICT COURT

f`or the

Soutllern Disti‘ict of Floi'ida

RE|N|ER FUENTES

V

CLASS|CA CRU|SE OPERATOR, LTD., |NC.. a
foreign profit corporation

Civil Action No.

ingram "

SUMMONS IN A CIVIL ACTION

CLASS|CA CRUISE OPERATOR, LTD., |NC., a foreign profit corporation
o/o Registered Agent

CT CORPORAT|ON SYSTEN|

1200 SOUTH P|NE |SLAND ROAD

PLANTAT|ON, FLOR|DA 33325

TO: (Defbridarir 's name and addi'ess)

A lawsuit has been filed against you.

Within 21 days after service of this sulmnons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) - you must seive on the plaintiff an answer to the attached complaint or a motion under Rule IZ of
the Federal Rules of Civi] Pi'ocedure. The answer or motion must be served on the plaintiff or plailltifF s attorney,

whose name and address are. M{CHAEL _|_. FLANAGAN' ESQ_
FLANAGAN PERSONAL lNJURY & WRONGFUL DEATH LAW FiRM, P.A.
2 ALHAMBRA PLAZA, SUiTE # 620
CORAL GABLES, FLOR|DA 33134
(305) 638-4143 TEL
(305) 39772636 FA)<

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

CLERK OF COURT

Date: j ' '"_ __... . . .. . 7 j 7 7 iiii,,,, _ ______
Sigmttm'e ofCle)'k or Depm‘y Cler‘k

